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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON



UNITED STATES OF AMERICA,                           :
                                                            Case No. 3:05CV0394
       Plaintiff,                                   :       Case No. 3:03CR013(3)

vs.                                                 :       District Judge Walter Herbert Rice
                                                            Magistrate Judge Sharon L. Ovington
DAMON C. DAVIS,                                     :

       Defendant.                                   :



                            REPORT AND RECOMMENDATIONS1


       On May 2, 2003, Damon C. Davis pled guilty to conspiring with others to distribute

heroin in the Dayton, Ohio area. (Doc. #75). On July 28, 2003, Davis was sentenced to an

eighty-seven month term of imprisonment. (Doc. #97). Davis did not appeal his conviction in

the United States Court of Appeals for the Sixth Circuit. His case is presently before the Court

upon his pro se Motion under §2255 to Vacate, Set Aside, or Correct Sentence (Doc. #138),

Respondent’s Answer (Doc. #149), to which Davis has not responded, and the record as a whole.

       Davis first claims that his sentence violated his constitutional rights under the new rules

announced in Blakely v. Washington, 542 U.S. 296 (2004) and United States v. Booker, 243 U.S.

220 (2005). These cases, however, do not apply retroactively to Davis’ §2255 Motion, because

his conviction became final before both Blakely and Booker. United States v. Lang, 474 F.3d

348, 353 (6th Cir. 2007); see United States v. Humphress, 398 F.3d 855, 860 (6th Cir. 2005).


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           Attached hereto is a NOTICE to the parties regarding objections to this Report and Recommendations.
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Davis first claim therefore lacks merit.

       Davis next claims that he was actually innocent “based on the fact that the Defendant was

misinformed as to the true elements of the charge against him, which led to a[n] unknowing

guilty plea.” (Doc. #138 at 11). Davis contends that he was incorrectly informed that his mere

presence inside a drughouse was enough for a conviction on Count 1 of the indictment –

conspiracy to possess with intent to distribute 100 grams or more of heroin. He explains that the

Government was required to prove beyond a reasonable doubt “that at some time during the

course of this crime that the Defendant actually possessed the drug in question or had display[ed]

control over it.” Id. at 13. He also argues that the Government would have to prove beyond a

reasonable doubt that at some time during the course of the crime, he distributed these same

drugs and gained a profit from them. Id. Davis’ contentions lack merit for two reasons. First,

Davis procedurally defaulted his claim of actual innocense by failing to file a direct appeal of his

conviction. See El-Nobani v. United States, 287 F.3d 417, 420 (6th Cir. 2002)( “Generally, ‘the

voluntariness and intelligence of a guilty plea can be attacked on collateral review only if first

challenged on direct review.’”). Second, even if Davis’ claim was not procedurally defaulted,

his claim of actual innocense fails because he misunderstands the elements necessary to prove a

conspiracy charge. “[T]o establish a drug conspiracy, the government must prove (1) an

agreement to violate drug laws, (2) knowledge and intent to join the conspiracy, and (3)

participation in the conspiracy.” United States v. Colon, 268 F.3d 367, 375 (6th Cir. 2001).

These elements of a drug conspiracy do not require the Government to prove that a defendant

possessed the drugs involved. Id. Davis’ contrary contention lacks merit.

       Similarly, Davis’ contention regarding the need for the Government to prove that he


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distributed the drugs and gained a profit from them lacks merit. To prove a conspiracy, “the

government need not show that a defendant participated in all aspects of the conspiracy; it need

only prove that the defendant was a party to the general conspiratorial agreement. Further, the

connection between the defendant and the conspiracy need only be slight.” United States v.

Ledezma, 26 F.3d 636, 640 (6th Cir. 1994). Although Davis claims he was actually innocent, his

contentions provide no basis for concluding that he was not a party to the general conspiratorial

agreement.

         To the extent Davis also seeks to raise a claim that his counsel provided constitutionally

ineffective assistance based on his purportedly incorrect understanding of the elements of

conspiracy, his claim lacks merit. To state a claim under the Sixth Amendment to the United

States Constitution based on ineffective assistance of counsel, Davis must show that counsel’s

performance was deficient and that the deficient performance was prejudicial. See Strickland v.

Washington, 466 U.S. 668, 689 (1984). Davis’ counsel’s performance was not deficient because

the errors claimed by Davis are based on his misunderstanding of the elements constituting a

conspiracy. Indeed, contrary to Davis’ position, his attorney would have committed significant

error if he had told Davis these incorrect elements of the conspiracy charge. Because Davis’

counsel’s performance was not constitutionally deficient, his Sixth Amendment claim lacks

merit.

         Accordingly, Davis’ Motion to Vacate, Set Aside, or Correct Sentence lacks merit.




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                    IT IS THEREFORE RECOMMENDED THAT:

      1.     Davis’ Motion to Vacate, Set Aside, or Correct Sentence (Doc. #138) be
             DENIED; and

      2.     This case be terminated on the docket of this Court.




March 12, 2007

                                                       s/ Sharon L. Ovington
                                                         Sharon L. Ovington
                                                     United States Magistrate Judge




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                           NOTICE REGARDING OBJECTIONS

        Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written
objections to the proposed findings and recommendations within ten days after being served with
this Report and Recommendations. Pursuant to Fed. R. Civ. P. 6(e), this period is extended to
thirteen days (excluding intervening Saturdays, Sundays, and legal holidays) because this Report
is being served by mail. Such objections shall specify the portions of the Report objected to and
shall be accompanied by a memorandum of law in support of the objections. If the Report and
Recommendations are based in whole or in part upon matters occurring of record at an oral
hearing, the objecting party shall promptly arrange for the transcription of the record, or such
portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
assigned District Judge otherwise directs. A party may respond to another party's objections
within ten days after being served with a copy thereof.

       Failure to make objections in accordance with this procedure may forfeit rights on
appeal. See United States v. Walters, 638 F. 2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S.
140 (1985).




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